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 EXHIBIT 73
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6AM Update - E Precinct (see notes below)
Where:        701-801 - 1211; 591 -015-294
When:         Wed Jun 10 06:00:00 2020 (America/Los_Angeles)
Until:        Wed Jun 10 06:30:00 2020 (America/Los_Angeles)
Organiser     "Nelson , Laurel" <"/o=exchangelabs/ou=exchange administrative group
s             (fyd ibohf23spd It )/cn=reci pients/cn=f1 bbaebb6f0a4 bed808e0303e8b537f0-ne Ison 11 ">
Required      "Fong, Michael" <michael.fong@seattle.gov>
Attendees:    "Ranganathan , Shefali" <shefali.ranganathan@seattle.gov>
              "Sixkiller, Casey" <casey.sixkiller@seattle.gov>
              "Formas, Stephanie" <stephanie.formas@seattle.gov>
              "Auriemma , Anthony" <anthony.auriemma@seattle.gov>
              "Kline, Julie" <julie.kline@seattle.gov>
              "Aisenberg , Kathryn - MOS" <kathryn.aisenberg2@seattle.gov>
              "Apreza , Ernesto" <ernesto.apreza@seattle.gov>
              "Best, Carmen" <carmen.best@seattle.gov>
              "Mahaffey, Thomas" <thomas.mahaffey@seattle.gov>
              "Diaz, Adrian" <adrian.diaz@seattle.gov>
              "Scoggins , Harold D" <harold.scoggins@seattle.gov>
              "Aguirre , Jesus" <jesus.aguirre@seattle.gov>
              "Hara , Marni" <mami.hara@seattle.gov>
              "Goings , Calvin" <calvin.goings@seattle.gov>
              "Zimbabwe , Sam" <sam.zimbabwe@seattle.gov>
              "Mantilla , Andres" <andres.mantilla@seattle.gov>
              "Neafcy, Kenneth" <kenneth.neafcy@seattle.gov>
Optional      "Grove , Kiersten" <kiersten.grove@seattle.gov>
Attendees:    "Reed , Michelle" <michelle.reed@seattle.gov>
              "Worcester, Ned" <ned.worcester@seattle.gov>
              "Buechler, Chad M" <chad.buechler@seattle.gov>

                           (updates since last phone call are highlighted)

General Updates
FOR TOMORROW: City team 6:00am restart tomorrow, be on site and come up
with a plan {strategic objectives) for access and reopening streets. Also need to
figure out organizer their goals.



For Burglaries of a Business Information: SPD is waiving the requirement of
an officer to do an on-scene report. They are advising businesses to file an
online police report {titling it a theft or Rroperty destruction).


Today's Objectives
 1. Remove concrete barriers and replace with orange/water barriers including a
    traffic management plan. (Lead: SOOT, Fire)-
         1230: IN PROGRESS (including reactivation of the signal/perimeter signals)
         1500 update
        § SOOT removed all the concrete barricades




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      § Scoggins discussed about softer barricades with some of the organizers
      § 13/Pine is designated EMS ingress that can be most easily accessed.
      § 11 th tPine 3 empty water barricades
      § 11 th tPine north side bike barricades
      § 1oth street middle of the block some small cones.
      § Street closed signs put up along perimeter
      § Signal at 11 th and Pine unbagged and back on flash.



2. General clean-up of area including the removal of loose dumpers (Lead: SPU) -
      1230: IN PROGRESS, organizers are requesting some dumpsters leave on site. SPU
      needs a plan for placement. Trying to contact property owners for garbage pickup.
      Keep the 2 existing dumpsters at Cal Anderson.
      1230: Street Sweeper has been canceled.
      1500: Loose dumpsters have been collected by owner. 1ih &Pike recycle



3. Plan for regular trash pickup cycle at 11 th /Pine (Lead: SPU)
      1400: 2 dumpsters currently in Cal Anderson Park. SPU adding 2 dumpsters.
      1500: Additional 1 dumpster at the top of the hill on 13th in front of a
      closed driveway
      1500 will attempt to get access and get pickup remaining trash


4. Plan for movement and/or removal of port-a-potties including servicing all units in
   the vicinity (Lead: SPU. Support: SPR, ESF-7).
      1500: Have not gotten an agreement on being able to move all the
      portapotties. Moving 4 of the 8 portable toilets to Cal Anderson Park.
      Hans Van Dusen will confirm where and coordinate their movement with
      Parks.
      1500: Portapotties at 1oth & Pine can be safely serviced.


s. Develop a communication plan between community site leaders and city service
   providers (e.g. Fire, SOOT, SPU, SCL, SPU, etc) (Lead: Mayor's Office/Fire)
        1230: Identify the point person/liaison with the community site leader (to be
       approved by the Mayor (FIRE, MO)
      1400: SPU at the EOC working on finalizing the back end of the process.


6. Develop a safety plan for the delivery of city services in the area of 11 th / Pine
   (Lead: Fire. Support: SPU , OEM)-
       1230: Check with Scoggins if one is needed for all City Employees.




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7. Develop communications for City employees and the public (Lead: Mayor's
   Communications Team)
      1230: Ernie will coordinate: Use SFD, SPU, FAS, OED, SDOT messaging (blog post) of
      the city's actions, traffic mitigation plan, collect traffic, encouraging peaceful
      demonstrations. Include clean-up work at Cal Anderson Park.
      1230: OED is visiting residents in the area.
      1500:
      § SPD blotter of their plan for the east precinct operations.
      § MO Comms team has a draft on the work that ha            pened this
          afternoon. It will be sent out from the JIC later today.
      § Working on communication messaging with residents. {traffic/vehicle
          access, fire access)
      § Feedback from OED business visits went well. Most were pleased with
          how things went yesterday.




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